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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


DONALD J. TRUMP, in his capacity as
the 45th President of the United States,


       Plaintiff,

              v.                              Civil Action No. 21-2769


BENNIE G. THOMPSON, in his official
capacity as Chairman of the United States
House Select Committee to Investigate
the January 6th Attack on the United States
Capitol; THE UNITED STATES HOUSE
SELECT COMMITTEE TO INVESTIGATE
THE JANUARY 6TH ATTACK ON THE
UNITED STATES CAPITOL; DAVID S.
FERRIERO, in his official capacity as
Archivist of the United States; and THE
NATIONAL ARCHIVES AND RECORDS
ADMINISTRATION,


       Defendants.


         STATEMENT OF POINTS AND AUTHORITIES IN SUPPORT
         OF PLAINTIFF’S EMERGENCY MOTION FOR INJUNCTION
         PENDING APPEAL, OR AN ADMINISTRATIVE INJUNCTION
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      The Plaintiff is seeking this emergency relief to preserve the status quo while

novel constitutional and statutory issues of first impression are considered in this

Court and, if necessary, on appeal. Should this Court refuse President Trump’s

injunction, he will promptly seek appellate relief. Therefore, he requests an

injunction pending appeal, or, at the very least, an administrative injunction, that

will provide the D.C. Circuit sufficient time to consider the appeal on an expedited

basis. President Trump’s proposal balances the needs of judicial economy and

expediency. If injunctive relief is refused, the National Archives and Records

Administration will produce records before judicial review is complete and before

President Trump has had the opportunity to be fully and fairly heard.

      Absent a court order instructing him not to, the Archivist of the United States

intends to comply with the congressional request and release the disputed documents

this Friday, November 12, 2021. Because of these considerations and because

Thursday, November 11, 2021, is Veterans Day, President Trump requests a ruling

from this Court on his Motion for a Preliminary Injunction and, if applicable, this

motion no later than Wednesday, November 10, 2021. Should no order be issued by

that time, the Plaintiff will interpret the Court’s silence as a refusal and take his

appeal to the U.S. Court of Appeals for the D.C. Circuit. See Dist. of Columbia v.

Trump, 930 F.3d 209, 213 (4th Cir. 2019) (the President can immediately appeal the

“effective denial” of absolute immunity); Wright & Miller, Federal Practice &

Procedure, § 2962 (“When a court declines to make a formal ruling on a motion for a

preliminary injunction, but its action has the effect of denying the requested relief,



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its refusal to issue a specific order will be treated as equivalent to the denial of

preliminary injunction and will be appealable.”); see, e.g., Mt. Graham Red Squirrel

v. Madigan, 954 F.2d 1441, 1450 (9th Cir. 1992).

                                  BACKGROUND

      The background of this case has been thoroughly briefed. DCD Nos. 5-1 and

33. President Trump notified the Archivist of his assertions of executive privilege

affecting a small subset of documents. Additionally, he made a protective assertion of

executive privilege over any additional materials that may be requested by the

Committee. Compl., Exh. 5.

      The Biden Administration notified the Archivist it would not assert executive

privilege for the documents identified in President Trump’s letters and instructed the

Archivist to produce the records on November 12, 2021, absent an intervening court

order.1 Compl., Exh. 4. The Archivist notified President Trump that, “[a]fter

consultation with Counsel to the President and the Acting Assistant Attorney

General for the Office of Legal Counsel, and as instructed by President Biden” the

Archivist has “determined to disclose to the Select Committee” on November 12, 2021,

all responsive records former President Trump determined were subject to executive

privilege, absent an intervening court order. Compl., Exh. 7.

      President Trump acted promptly and filed his complaint on October 18, 2021,

DCD No. 1, and filed his Motion for a Preliminary Injunction on the following day,




   1 The Archivist has since confirmed that he intends to produce the documents at

6:00 PM on November 12, absent a court order.
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October 19, 2021, DCD No. 5. After full briefing by the parties, the Court heard

argument on November 4, 2021. President Trump will promptly appeal any refusal

of his Motion for a Preliminary Injunction.

                                     ARGUMENT

      A court considers the same four factors when deciding to grant an injunction

pending an appeal as when considering a motion for preliminary injunction.

MediNatura, Inc. v. Food & Drug Admin., 2021 WL 1025835, at *4 (D.D.C. Mar. 16,

2021) (citing Winter v. Nat. Res. Def. Council, Inc., 555 U.S. 7, 20 (2008). “[A]n

injunction pending appeal may be appropriate, even if the Court believed its analysis

in denying preliminary relief is correct.” Am. Beverage Ass'n v. City & Cty. of San

Francisco, No. 15-cv-3415, 2016 WL 9184999, at *2 (N.D. Cal. June 7, 2016); see, e.g.,

Native Ecosystems Council v. Kimbell, No. 05-cv-110-M, 2005 WL 8167434, at *1 (D.

Mont. Nov. 21, 2005) (granting injunction pending appeal after denying preliminary

injunction because without injunction pending appeal the underlying issue might be

mooted without chance for review).

      The language of Federal Rule of Civil Procedure 62(d) explicitly provides that

“while an appeal is pending from an interlocutory order . . . that . . . refuses an

injunction, the court may . . . grant an injunction.” Finally, an administrative

injunction is appropriate pursuant to the All Writs Act, 28 U.S.C. § 1651, to maintain

the status quo on a temporary basis while a court considers the matter. S.E.C. v.

Vison Commc’ns, Inc., 74 F.3d 287, 291 (D.C. Cir 1996); see also U.S. v. New York

Tel. Co., 434 U.S. 159, 189 n. 20 (1977) (Stevens, J. dissenting) (citing FTC v. Dean


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Foods Co., 384 U.S. 597, 604 (1966) (“injunction issued under All Writs Act upheld

because it was necessary “to preserve the status quo while administrative

proceedings are in progress and prevent impairment of the effective exercise of

appellate jurisdiction ”) (emphasis added).

      Earlier this year, in MediNatura, Inc. v. Food & Drug Administration, the

district court held the “standard for granting an injunction pending appeal is, at least

at times, more flexible than a rigid application of the traditional four-part standard

applicable to granting a preliminary injunction.” MediNatura, 2021 WL 1025835, at

*6. The court went on to hold “in rare cases, the threat of irreparable harm may be so

grave and the balance of equities may favor a plaintiff so decisively that an injunction

pending appeal of a difficult or novel legal question may be proper.” Id. The court

explained an injunction pending appeal should be granted if “in the absence of such

an injunction, the subject matter of the dispute will be destroyed or otherwise altered

in a way that moots the pending appeal.” Id. at *6. This is exactly the case before this

Court. Here, if the documents are released to the Committee, the executive privilege

would be destroyed, the Archivist may impermissibly release documents, and the

status quo could not be restored.

      President Trump has shown likelihood of success on the merits, but in the

alternative, interim relief should be granted under the “serious questions” standard.

See Carey v. Klutznick, 637 F.2d 834, 839 (2d Cir. 1980); U.S. Servicemen’s Fund v.

Eastland, 488 F.2d 1252, 1256 (D.C. Cir. 1973).




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      Novel questions of congressional access to presidential records and executive

privilege are at the heart of this case. These are serious issues, which the Supreme

Court referred to as “fundamental to the ‘operation of Government.” Trump v. Mazars

USA, LLP, 140 S. Ct. 2019, 2032 (2020) (quoting United States v. Nixon, 418 U.S.

683, 708 (1974)). The disagreement between an incumbent President and his

predecessor from a rival political party highlights the importance of executive

privilege and the ability of presidents and their advisers to reliably make and receive

full and frank advice, without concern that communications will be publicly released

to meet a political objective.

      This political clash supports the Supreme Court’s recognition of former

Presidents’ right to assert executive privilege. See Nixon v. GSA, 433 U.S. 425, 449

(1977). It is why the PRA allows former Presidents to seek a remedy in court. 36

C.F.R. § 1270.44 (stating the Archivist discloses records after incumbent denial of the

privilege only if no court order is issued). Thus, the incumbent President’s

determination is not final.

      President Trump has explained in detail, in his briefs and at argument, why

he has met the standards of an injunction. DCD Nos. 5-1 and 33. Those arguments

are incorporated here by reference. Granting interim relief will permit the court to

consider the important constitutional questions with the benefit of fulsome briefing

and with the time required to come to thorough, reasoned conclusions.




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                                     CONCLUSION


      This case should be decided after thorough but expeditious consideration

pursuant to America’s judicial review process, both before this Court and on appeal,

not by a race against the clock. Afterall, this is not a game, see Poliquin v. Garden

Way, Inc., 989 F.2d 527, 531 (1st Cir. 1993), especially given the weighty questions

at issue. Should the Court refuse Mr. Trump’s Motion for a Preliminary Injunction,

then it should grant this Motion for an Injunction Pending Appeal, or Administrative

Injunction to preserve the status quo while these questions are considered on appeal.


      Dated: November 8, 2021                Respectfully submitted,

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                              CERTIFICATE OF SERVICE


      I certify that the foregoing was electronically filed with the Clerk of the Court

using the Court’s CM/ECF system, which will cause a copy to be sent to all counsel of

record.

Dated: November 8, 2021                       /s/ Jesse R. Binnall
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